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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                DANVILLE DIVISION

 MELVIN CLARK, et al.                          )
                                               )
        Plaintiffs,                            )
                                               )
 v.                                            )          Civil Action No. 4:20cv00063
                                               )
 STANLEY FURNITURE COMPANY                     )
 LLC, et al.,                                  )
                                               )
        Defendants.                            )

                                   ENTRY OF DEFAULT

       It appearing that Plaintiffs’ Amended Complaint was filed in this case on October 21, 2020;

that the summons and Amended Complaint were duly served upon Defendants Stone & Leigh,

LLC, and the Supplemental Retirement Plan of Stanley Furniture Company, Inc. on October 30,

2020; and that no answer or other pleading has been filed by said Defendants as required by law;

therefore, upon request of the Plaintiffs, default is hereby entered against Defendants Stone &

Leigh, LLC, and the Supplemental Retirement Plan of Stanley Furniture Company, Inc., as

provided in Rule 55(a) of the Federal Rules of Civil Procedure.

                  10thday of _______________________,
       Dated this ___        December                 2020.



                                                            Hon. Julia C. Dudley, Clerk of Court



                                                            By: __________________________




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